Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 1 of 9
  Case 4:14-cv-00216-LGW-GRS Document 14-1 Filed 05/13/15 Page 1 of 4




                                                                                         FILED
                      UNITED STATES DISTRICT COURT                               U.S. DISTRICTiiCOURT
                      SOUTHERN DISTRICT OF GEORGIA                                  S ivMr1Mr1
                                                                                      AVA NNAHUI v.
                           SAVANNAH DIVISION
                                                                                        MAY 2I 21115
UNITED STATES OF AMERICA,                                                      CLERK           id-
                                                                                    SO.DISijJF GA
             Plaintiff,

      V.
                                                      CV4 14-216
ONE 2014 MERCEDES BENZ SG-3 AMG,
VIN WDDUG7JBOEA042570,

             Defendant.



       CONSENT ORDER OF FORFEITURE A N D FINAL JUDGMENT

      On May 8, 2014, the United States Secret Service seized the Defendant

Vehicle, a 2014 Mercedes Benz, 503 AMG, Vehicle Identification Number (VIN ,

WDDUG7JBO042570 at the Port of Savannah. On September 29, 2014, the,

United States initiated these judicial proceedings by filing a Complaint for

Forfeiture in Rein against the Defendant Vehicle pursuant to 18 TJS.C.

§98I(a)(1)A). (Doc. 1). Claimant Sherif Shagaya was sent copies of the Complaint

and Notice of Forfeiture via Certified Mail Return Receipt Requested, on or about

October 3, 2014. (Doe. 5). Robert R. Rini Ibrahim Shehu and Richard Pham were

also sent copies of the Complaint and Notice of Forfeiture via Certified Mail Re-.urn

Receipt Requested, on or about October 3, 2014. (Does. 6 - 8). The Defendant

Vehicle on arrested on September 29, 2014. Doc. 3).
  Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 2 of 9
   Case 4:14-cv-00216-LGW-GRS Document 14-1 Filed 05113/15 Page 2 of 4




       In addition to providing Claimant with personal notice that a Complaint £r

Forfeiture had been filed and that the Defendant Vehicle had been arrested, the

United States has notified all other potential claimants by publishing notice on the

government internet website, www.forfeiture.gov , for thirty days beginning on

October 3, 2014. (Doe. 10).

       Claimant filed a Claim to the Defendant Vehicle on October 20, 2014. (Doc.

10.), and an Answer on November 3, 2014. (Doe. 11). No other Claim was flied and

the period in which to do so has expired.

       The parties have entered into a Stipulation of Settlement and Release of All

Claims resolving all of the issues raised in the Complaint. Specifically, the parties

consented to an order substituting $20,000.00 in lieu of the Defendant Vehicle. The

United States and Claimant are in agreement that substituting $20,000.00 for the

Defendant Mercedes will be best for all concerned.

       The parties agreed that the United States shall return the Defendant Vehicle

to Claimant in consideration of Claimant's agreement to forfeit to the United States

the substitute res of $20,000.00 in U.S. Currency, and that this shall constitute a

full and final settlement of all claims that Claimant has as a result of the seizure.

       WHEREFORE, the Court: hereby finds that the United States has furnisbed

due and legal notice of the proceeding as required by statute, and that all persons

known to the United States to have a possible interest in the Defendant Vehicle,

have received actual notice and service of the Complaint and Warrant for Arrest in

this action.
Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 3 of 9
Case 4:14-cv-00216-LGW-GRS Document 14-1 Filed 05113/15 Page 3 of A            .




    Therefore, IT IS HEREBY ORDERED AS FOLLOWS:

    1.   That $20,000.00 shall be substitute res for the Defendant Vehicle.

    2.   A Final Judgment of Forfeiture is hereby entered in favor of the United

         States against the substitute res of $20,000.00 in U.S. Currency, wlich

         shall be disposed of by the United States according to law and the

         terms of this Order.

    3.   Claimant Sherif Shagaya agrees to remit to the United States a check

         made payable to the US. Customs and Border Protection in the

         amount of $20,000.00 as substitute res. The United States Attorney

         General, or his designee, is authorized to seize the $20,000.00 as

         substitute res for the Defendant Vehicle.

   4.    That upon receipt and verification of the $20,000.00 as substitute rs,

         the U.S. Customs and Border Protection is hereby authorized and

         directed to release the Defendant Vehicle to Claimant Sherif Shagaa.

   5.    The $20,000.00 as substitute res shall be deposited in a government

         account maintained by the U.S. Customs and Border Protection

         pending resolution of these civil forfeiture proceedings. Claimant shall

         not be entitled to receive any further payment from the United States

         as a result of the seizure.

     .   The parties shall be responsible for payment of their own expenses,

         including attorney's fees, incurred in connection with this proceeding.




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Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 4 of 9
Case 4:14-cv-00216-LGW-GRS Document 14-1 Filed 05/13115 Page 4 of 4




         7.     For the purpose of enforcing this Order, the United States District

                Court shall retain jurisdiction




                                    ii                 DISTRICT COURT
                                                       RJCT OF GEORGIA


  CONSENTED TO:

  EDWARD J. TARVER
        nATES

                                                                    Date:______
  Je       (istatte
  Assistant United States Attorney
  Georgia Bar No. 0934 16
  P.O. Box 8970
  Savannah, Georgia 31412

  C.hA1MAN

                                                                     Date:______
  Donald. F. Sam el                                                         7/
  Attorney for Sherif Shagaya
  Georgia Bar No. 624475
 Garland, Samuel & Loeb. P.C.
 3151 Maple Drive, N.E.
 Atlanta, GA. I0305
 (4{4) 962.2225

                                                                    Date:
 Sheri.f Shag
 Claimant
  Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 5 of 9
  Case 4:14-cv-00216-LGW-GRS Document 14-2 Filed 05/13/15 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

UNITED STATES OF AMERICA,

               Plaintiff;

       V   .



                                                    CV414-216
ONE 2014 MERCEDES BENZ SG8 AMG
VIN WIDUG7JBOEA042570,

               Defendant.


      STIPULATION OF SETTLEMENT AND RELEASE OF ALL CLAIMS

       WHEREAS, on May 8, 2014, the Defendant Vehicle, a 2014 Mercedes Benz,

SG3 AMG, Vehicle Identification Number (VIN) WDDUG7JBOEA042570, was

seized pursuant to a seizure warrant in Garden City, Georgia, at the Port of

Savanah by the United States Secret Service;

       WHEREAS, the United States of America filed its Verified Complaint for

Forfeiture In Rem on December 19, 2012 (Dec. 1), against the Defendant Vehicle

pursuant to 18 U.S.C. § 981(a)(1)(A);

       WHEREAS, on October 20, 2014, Sherif Shagaya filed a Verified Claim

asserting ownership of the Defendant Vehicle (Doe. 10);

       WHEREAS, on November 3, 2014, Sherif Sbagaya flied an Answer (Doe. 11);

and
 Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 6 of 9
   Case 4:14-cv-00216-LGW-GRS Document 14-2 Piled 05/13/15 Page 2 of 5




       WHEREAS, the United States of America and Sherif Shagaya are aware of

their respective rights and wish to resolve this matter without further litigation and

further expense.

       NOW THEREFORE, the parties, in the interest of fully and finally resolving

this matter in all respects, stipulate and agree as follows:

             The United States of America and Claimant Sherif Shagaya agree,

understand and acknowledge that none of the parties to this Stipulation of

Settlement and Release of All Claims (Agreement") admit or acknowledge any

liability whatsoever to the other, and further, that the parties specifically deny any

such liability. Neither this Agreement nor any payment hereunder is to be

construed as an admission of liability by either party.

      2.     The parties herein wish to resolve this matter without utilization of

judicial resources and litigation expenses. As such, the parties agree that

substituting $20000.00 for the Defendant Vehicle will be best for all concerned,

that the Defendant Vehicle shall NOT BE FORFEITED, but shall be

RETURNED to the Port where it will be met by Claimant or his designated

representative. Claimant shall remit a check made payable to the U.S. Customs

and Border Protection in the amount of Twenty Thousand Dollars ($20,000.00) as

substitute res. Claimant hereby withdraws his Claim to the substitute res of

Twenty Thousand Dollars ($20,000.00.

      3.     The parties further stipulate that the remaining portion of the

substitute res, specifically Twenty Thousand Dollars ($20,000.00), shall be
 Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 7 of 9
     Case 4:14-cv-00216-LGW-GRS Document 14-2 Filed 05/13115 Page 3 of 5




FORFEITED to the United States of America. Further, any right, title or interest

of Claimant and his successors and assigns, and any right, title and ownership

interest of all other persons in the $20,000.00 substitute res is being forfeited to the

United States of America is hereby and forever EXTINGUISHED. Clear title to

said currency shall hereby be VESTED in the United States of America which is

authorized to dispose of such currency according to law.

         4.   Claimant represents that at the time of the seizure he was the owner

of the substitute res. Claimant Sherif Shagaya hereby warrants, covenants and

represents that prior to executing this Agreement, he has not conveyed, transferred,

pledged, or in any manner whatsoever assigned or encumbered the substitute res.

         5.   Claimant agrees to release, remise and forever discharge the Unitsd

States of America, and any of its agencies involved in this matter, including but not

limited to the United States Secret Service, U.S. Customs and Border Protection,

Department of Homeland Security, their agents and employees, and state and local

law enforcement officers and their employers, agents, and employees, past and

present, from any and all claims or causes of action which Claimant and his agents,

officers, employees, assignees andior successors in interest have, may have had or

may have on account of the events or circumstances giving rise to the seizure of the

Defendant Vehicle.

6.      Upon both parties signing this Agreement, Claimant shall provide the

substitute ,'es immediately. Claimant shall as soon as possible, contact the U.S




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 Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 8 of 9
  Case 4:14-cv-00216-LGW-GRS Document 14-2 Filed 05113/15 Page 4 of E




Customs and Border Protection Exodus Team to arrange for an on-site examination

of the Defendant Vehicle at the stuffing location.

       7.     This Agreement does not address or purport to address or waive any

tax claims whether federal, state or local, which may be asserted or proposed

against Claimant as a result of the seizure and detention, release and return of any

portion of the Defendant Vehicle.

       8.     Claimant acknowledges that he has been represented by competerr:

counsel in connection with the negotiation, preparation and execution of this

Agreement, that its provisions and the legal effect of them have been fully

explained, and that he has entered into this Agreement freely and voluntarily,

without coercion, duress or undue influence.

       9.     The parties agree that each party shall bear its own costs and

attorney's fees in this matter.

       10.   Each party understands that this Agreement constitutes the entire

agreement between them, that this Agreement has no effect on any potential

criminal action that may be brought by any state or the United States oIAmei'ica

against She rif Shagaya arising out of the facts that gave rise to this forfeiture

action, that no promise or inducement has been made except as is set forth herein,

and that no representation, agreement, promise or inducement, oral or otherwise,

between the parties to this Agreement and not included herein shall be of any force

and effect. The parties agree that this Agreement cannot be used or introduced as

evidence by either party in a subsequent state or federal criminal proceeding.

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Case 4:14-cv-00216-LGW-GRS Document 15 Filed 05/21/15 Page 9 of 9
 Case 4.14-cv-00216-LGW-GRS Document 14-2 Piled 05113/15 Page 5 of E




           11. The terms and conditions of this Agreement shall be binding upon and
 AM    for the benetlt of the parties hereto and their respective heirs, executors,

 adminnitrators. representtivcs, successors and assigns-

           WHEREFORE, the parties stipulate to entry of this Settlement Agreement
 and Release of all Claims, in conjunction with the execution of this Se ulen ion t

 Av'eement and Release of all Claims. the Government will flue a Motion for Consent,

 Order of For&ture and Final Judgment.


 EDWARD J. TAR VER
 UNITE!) STATES NflOHNE1


                                                                       i)att.

     'iant United States Attorney
          a Bar No. 03 141
 11. 0. Box $970
 Savannah, Georgia :114 12
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 Donald F. Samuel
 Attorney for She nt Shagiwa
 C;tr      Rn No, 432.I47t
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